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                                                                                  09/24/2018




          To Whom it may concern;

          My name is NQUAVAH HARRIS and this letter is in reference to someone whom is
          considered a family a brother to me a uncle to my children and a father to his own
          Michael Brockenbaugh it would be greatly appreciated if this all can be
          considered during his sentence my family as well as his own have been greatly
          affected by this whole situation and it has taken time for us all to adjust to it he
          was a great mentor and inspiration to us all. And this situation has taken a toll and
          extremely hard for us all to deal with if by any chance we ask please have
          consideration and allow Michael to be close to family and love ones that whom
          cared for him and also the ones he has help nurture into great young people. As a
          mother I want what's best for my children as we all do! I pray that justice will
          prevail and in the process that we as well as him can be a support system to each
          other.




                                                                            Sincerely

                                                                        NQUAVAH HARRIS
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